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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                      4:14CR3114
       vs.
                                                                         ORDER
SONIA HERNANDEZ and
FREDDY HERNANDEZ JR.,

                      Defendants.


       Defendant Sonia Hernandez has moved to continue the trial currently set for August 17,
2015. (Filing No. 78). As explained in the motion, Defendant’s counsel has academic scheduling
obligations and has requested that the trial be continued until the fall break in that schedule. The
motion to continue is unopposed. Based on the showing set forth in the motion, the court finds
the motion should be granted. Accordingly,

       IT IS ORDERED:

       1)       Defendant Sonia Hernandez’ motion to continue, (filing no. 78), is granted.

       2)      As to both defendants, the trial of this case is set to commence before the
               Honorable John M. Gerrard, United States District Judge, in Courtroom 1, United
               States Courthouse, Lincoln, Nebraska, at 9:00 a.m. on October 19, 2015, or as
               soon thereafter as the case may be called, for a duration of five (5) trial days. Jury
               selection will be held at commencement of trial.

       3)      Based upon the showing set forth in the defendant Sonia Hernandez’s motion and
               the representations of counsel, the Court further finds that the ends of justice will
               be served by continuing the trial; and that the purposes served by continuing the
               trial date in this case outweigh the interest of the defendant and the public in a
               speedy trial. Accordingly, as to both defendants, the additional time arising as a
               result of the granting of the motion, the time between today’s date and October
               19, 2015, shall be deemed excludable time in any computation of time under the
               requirements of the Speedy Trial Act, because despite counsel’s due diligence,
               additional time is needed to adequately prepare this case for trial and failing to
               grant additional time might result in a miscarriage of justice. 18 U.S.C. §
               3161(h)(1), (h)(6) & (h)(7).

               July 27, 2015.                         BY THE COURT:
                                                      s/ Cheryl R. Zwart
                                                      United States Magistrate Judge
